                                           UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF TENNESSEE
                                          AT (; 0 JIAV• lie




       (Enter above the NAME of the
        plaintiff in this action.)                       )

                V.


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       (EI;lter above the NAME of each
        defendant in this action.)

                                    COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                              (42 U.S.C. Section 1983)

  I.            PREVIOUS LAWSUITS

                A.       Have you begun other lawsuits in state or federal court dealing with the same facts
                         involved in this action or otherwise relating to your imprisonment? YES ( ) NO     p<f
                B.       If your answer to A is YES, describe the lawsuit in the space below. (If there is more
                         than one lawsuit, describe the additional lawsuits on another piece of paper. using the
                         same outline.)

                         1.       Parties to the previous lawsuit:

                                  Plaintiffs:
                                                ------------------------------------------------


                                  Defendants:
                                                 ----------------------------------------------




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            2..     COURT: (Iffederal court, name the district; if state court, name the county):




            3.      DOCKET NUMBER:
                                           -----------------------------------------
            4.      Name of Judge to whom case was assigned:
                                                                 --------------------------
            5.      Disposition: (For example: Was the case dismissed? Was it appealed? ls it still
                    pending?) __________________________________________________

            6.      Approximate date of filing lawsuit: -------------------------------

            7.      Approximate date of disposition: --------------------------------


 II.   PLACE OF PRESENT     CONFINEMENT:~ //,/1-r-                (o       di.<S/, u         Ce t- h'- J e.//
       A.   Is there a prisoner grievance procedure in this institution? YES (X) NO ( )

       B.   Did you present the facts relating to your complaint in the prisoner grievance procedure?
            YES ( ) NO"¥_)

       C.   If your answer is YES,

            1.     What steps did you take? ---------------------------------------



            2..    What was the result?
                                          -------------------------------------

                                                                                                           (


       D.   If your answer to B is NO, explain why not.     /A ..e                   <

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       E.   If there is no prison grievance procedure in the institution, did you complain to the
            prison authorities? YES ( ) NO ('/J

       F.   If your answer is YES,

            1.     What steps did you take? - - - - - - - - - - - - - - - - - - - -




                                                 2.

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                    2.      What was the result?
                                                        ---------------------------------------


  Ill.    PARTIES

          (In item A below, please your name in the first blank and place your present address in the
          second blank. Do the same for any additional plaintiffs.)

          A         Name ofplaintiff:        ~t>rr'f J!.nk/_ !-i~rJcf{p Jf ·
                    Present address: /) 0
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                                                   /}o'f ~ / u           IJ /IJ v,/ v, tie ,, /d _ J 7' t 7
                    Permanent home address:             0 KK W- !lo vic rt r! f?lo...t                            t3s1~,.J.    1
                                                                                                                                    7t#J;v!u_. J   -uo
                    Address ofnearestrelative:          J(31o [t?rrvii'IJaoJ                   Ws.           JC,,.6~;UI\J.i W- 57v,~Po

          (In item B below, place the FULL NAME of the defendant in the first blank, his official
         position in the second blank, and his place of employment in the third blank. Use item C for
         the additional names, positions, and places of employment of any additional defendants.)

          B.        Defendant:    A;               ,,/h.        f-lnosi.;
                    Official position:       L?y.J      4(}ifft'"' t -~~ v          j   lA   I/, .n.:r> {o     ?v brt_ ia" vLf) tlfflC<

          C.        Additional defendants:
                                                  ------------------------------------------




 IV.     STATEMENT OF CLAIM

         (State here as briefly as possible the FACTS of your case. Describe how EACH defendant is
         involved. Include also the names of other persons involved, dates and places. DO NOT give
         any legal arguments or cite any cases or statutes. If you intend to allege a number of related
         claims, number and set forth each claim in a separate paragraph. Use as much space as you
         need. Attach extra sheets, if necessary.)
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 V.   RELIEF

       (State BRIEFLY exactly what you want this Court to do for you. Make NO legal arguments.
       Cite NO cases or statutes.)
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